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United States District Court
Eastern District of Michigan
Southern Division -

The United States of America, Criminal No. 17-20183

 

 

Plaintiff Hon. Mark A. Goldsmith
Vv. ~
D-4 Terry Pruitt a/k/a “T,” | \ LL E In
Defendant. APR 25 207
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Stipulation for Excludable Belay and to Set Dates
The United States of America and Defendant agree that there is good cause to
adjourn the detention hearing and completion of arraignment on the indictment in this
case scheduled for April 6, 2017, to a new date of April 25, 2017. See 18 U.S.C.
§3161. This extension of time is necessary to allow the parties to investigate the facts
of this case further and because Defendant’s pre-existing physical condition
prevented him from appearing in Court on an earlier date and, and because the failure
to grant such a continuance would unreasonably deny the defendant continuity of
counsel and the reasonable time necessary for effective preparation, taking into
account the exercise of due diligence. Defendant concurs in this request and agrees
that it is in his best interest.
The parties stipulate and agree that this stipulation and any order resulting
therefrom shall not affect any previous order of pretrial detention or pretrial release.
The period of delay between April 6, 2017 to April 25, 2017 should be

excluded from computing the time within which a trial must begin for the reasons set

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forth herein, and because the ends of justice served by such continuance outweigh the

interests of the public and Defendant in a speedy trial. See 18 U.S.C. §3161.

 

 

s/ JEROME F. GORGON JR. s/ S. ALLEN EARLY w/permission
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April 25, 2017

 
     

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United States District Court
Eastern District of Michigan
Southern Division

The United States of America, Criminal No. 17-20183

Plaintiff, Hon. Mark A. Goldsmith
Vv.

D-4 Terry Pruitt a/k/a “T,”

Defendant.
/

 

Order for Excludable Delay and to Set Dates

This matter coming before the court on the stipulation of the parties, it is
hereby

ORDERED that good cause exists to adjourn the detention hearing and the
completion of arraignment on the indictment scheduled for April 6, 2017 to April 25,
2017. See 18 U.S.C. § 3161.

ORDERED that any order of pretrial detention or pretrial release remains in
full force and effect.

ORDERED that the period from April 6, 2017 to April 25, 2017, shall be
excluded from computing the time within which a trial must begin for the reasons set
forth herein, and because the ends of justice served by such continuance outweigh the
interests of the public and Defendant in a speedy trial. See 18 U.S.C. § 3161.

ITIS SO ORDERED.
APR 25 207 RS TR WAR Judge

Bn

 

 
